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1    DANIEL J. BRODERICK, BAR #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANDY CHOY SAEPHAN
6

7

8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )         CR.S. 07-460-EJG
                                   )
12                  Plaintiff,     )
                                   )         STIPULATION AND ORDER TO
13        v.                       )         EXTEND AND EXCLUDE TIME
                                   )
14   ANDY CHOY SAEPHAN,            )         DATE: July 11, 2008
                                   )         Time: 10:00 a.m.
15                  Defendant.     )         Judge: Edward J. Garcia
     ______________________________)
16

17        Defendant ANDY CHOY SAEPHAN, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, and the
19   United States Government, by and through its counsel, PHILLIP A.
20   TALBERT, Assistant United States Attorney, hereby stipulate that
21   the judgment and sentencing set for June 13, 2008 be rescheduled
22   for Friday, July 11, 2008 at 10:00 a.m.
23        The following will be the new schedule for disclosure of the
24   Presentence Report:
25        Counsel’s Written Objections to the
          Presentence Report shall be due no
26        Later Than . . . . . . . . . . . . . . . . . . June 20, 2008
27        The Presentence Report Shall be Filed with
          the Court and Disclosed to Counsel no
28        Later Than . . . . . . . . . . . . . . . . . . June 27, 2008

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1         Motion for Correction of the Presentence Report
          Shall be Filed with the Court and Served on the
2         Probation Officer and Opposing Counsel
          no Later Than . . . . . . . . . . . . . . . . July 3, 2008
3

4         This continuance is being requested because defense counsel
5    requires additional time to review the report with the defendant
6    and prepare objections.
7    DATED: May 22, 2008
8                                               Respectfully Submitted,
9                                               DANIEL J. BRODERICK
                                                Federal Defender
10

11                                              /s/ Dennis S. Waks
                                                DENNIS S. WAKS
12                                              Supervising Assistant Federal
                                                Defender for Defendant
                                                ANDY CHOY SAEPHAN
13

14   DATED:    May 22, 2008                     McGREGOR W. SCOTT
                                                United States Attorney
15

16                                              /s/ Dennis S. Waks for
                                                PHILLIP A. TALBERT
17                                              Assistant U.S. Attorney
18                                     O R D E R
19   SO ORDERED.
20   Dated: June 2,      2008
21

22                                              /s/ Edward J. Garcia
                                                EDWARD J. GARCIA
23                                              United States District Court
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